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     Federal Defender
 2   MELODY M. WALCOTT, Bar #219930
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 5
     Attorney for Defendant
 6   STEFAN LEMAR MILLER
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:10-cr-00500 OWW
                                                     )
12                           Plaintiff,              )   STIPULATION FOR MODIFICATION OF
                                                     )   PRETRIAL RELEASE CONDITIONS; ORDER
13          v.                                       )   THEREON
                                                     )
14   STEFAN LEMAR MILLER,                            )
                                                     )
15                           Defendant.              )
                                                     )   Judge: Hon. Sandra M. Snyder
16                                                   )
17
18          Whereas Pretrial Services recommends that the conditions of pretrial release relating to Defendant
19   Stefan Lemar Miller, be modified as set forth below,
20          IT IS HEREBY STIPULATED by and between the parties to this action through their respective
21   counsel of record herein, Assistant United States Attorney Mark McKeon, counsel for Plaintiff, and
22   Assistant Federal Defender Melody M. Walcott, counsel for Defendant, with the agreement of the Pretrial
23   Services Officer, that the conditions of pretrial release made at the bail review hearing held January 25,
24   2011 and the Order Setting Conditions of Release signed by the Magistrate Judge Sandra Snyder on
25   January 26, 2011 relating to defendant Stefan Lemar Miller in the above-referenced matter may be
26   modified, as follows:
27   ///
28   ///
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 1            1. The defendant shall be removed from home detention and placed on curfew from 8PM to 8AM.
 2   He shall remain on electronic monitoring. All other previously-ordered conditions of release remain in
 3   full force and effect pending further order of the Court.
 4                                                                BENJAMIN B. WAGNER
                                                                  United States Attorney
 5
 6   DATED: April 14, 2011                                  By:    /s/ Mark McKeon
                                                                  MARK McKEON
 7                                                                Assistant United States Attorney
                                                                  Attorney for Plaintiff
 8
 9                                                                DANIEL J. BRODERICK
                                                                  Federal Public Defender
10
11   Dated: April 14, 2011                                        /s/ Melody M. Walcott
                                                                  MELODY M. WALCOTT
12                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
13                                                                STEFAN LEMAR MILLER
14
15
16                                                    ORDER
17            IT IS SO ORDERED. The conditions of pretrial release made at the detention hearing held
18   January 25, 2011 and the Order Setting Conditions of Release signed by the Court on January 26, 2011
19   relating to defendant Stefan Lemar Miller in the above-referenced matter are hereby modified to include
20   the provisions herein above set forth. All other prior terms and conditions of release shall remain in full
21   force and effect pending further order of the court.
22
23
24   IT IS SO ORDERED.
25   Dated:       April 16, 2011                       /s/ Sandra M. Snyder
     icido3                                     UNITED STATES MAGISTRATE JUDGE
26
27
28

     Stipulation For Modification of Pretrial
     Release Conditions; [Proposed] Order                   -2-
